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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 LEHMAN BROTHERS BANK, FSB,
        Plaintiff,                                      ORDER GRANTING
                                                        GOVERNMENT’S MOTION TO
                                                        DISMISS


                vs.


 BEVERLY HILLS ESTATES FUNDING,                         Case No. 2:03-CV-00612 PGC
 INC., et al.,
        Defendant.


 MICHAEL J. FITZGERALD PROTECTIVE
 COMMITTEE TRUST,

        Third Party Plaintiff,

                vs.

 UNITED STATES OF AMERICA,
 INTERNAL REVENUE SERVICE; STATE
 OF CALIFORNIA, EMPLOYMENT
 DEVELOPMENT DEPARTMENT, AND
 THE FRANCHISE TAX BOARD,

        Third Party Defendants.


       Complainant, Douglas Hawkes, is the court-appointed Utah Receiver responsible for the

management, administration, operation and activities of the Michael J. Fitzgerald Protective

Committee Trust. The Utah Receiver filed this Third-Party Complaint against the United States
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Internal Revenue Service, among other defendants, seeking a declaration of the rights and legal

relationships of the parties [# 96]. In particular, the Utah Receiver seeks a declaration regarding

(1) whether or not the IRS has any interest in the Trust assets for alleged unpaid employment

taxes and/or unpaid income taxes by Beverly Hills Development Corporation (BHDC) for the tax

years of 2000, 2001, and the first quarter of 2002, or any other tax year, and (2) whether the IRS

has any interest in the assets of the Trust for unpaid employment taxes under the applicable three-

year statute of limitations [# 96].

        In its Motion to Dismiss [# 105], the United States maintains that there is no waiver of its

sovereign immunity from suit and the court lacks jurisdiction over the claims. The United States

maintains that the first request for declaratory judgment should be dismissed with prejudice

because both the Declaratory Judgment Act’s bar against declaratory relief involving federal

taxes and the Anti-Injunction Act’s prohibition against actions dealing with the assessment or

collection of taxes prohibit this action. Although neither party has addressed the statute of

limitations issue, the court does not find sufficient merit to issue declaratory relief under the

statute of limitations argument either.

        Given the following discussion, the court GRANTS the IRS’ Motion to Dismiss [# 105].

                                          BACKGROUND

        In April of 2003, Lehman Brothers Bank filed an action1 in California alleging mortgage

fraud against a number of individuals and entities including Charles Elliot Fitzgerald.



        1
       Lehman Brothers Bank, FSB v. Beverly Hills Estates Funding, Inc., Civil No. CV03-
2702 DDP (C.D. Cal. 2003)

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Subsequently, the California court appointed David J. Pasternak as the California Receiver.

During the course of litigation, it became clear that over 300 individuals and business entities had

been defrauded by Michael J. Fitzgerald, brother to Elliot Fitzgerald, and at least seven salesmen,

into investing monies in a variety of entities including BHDC. The California Receiver was

charged with taking control and possession of BHDC.

        Concurrent with the California litigation, the Utah Department of Commerce Division of

Securities commenced an investigation of Michael Fitzgerald because a majority of the defrauded

investors either reside in or conduct business in Utah. The State of Utah subsequently charged

Michael Fitzgerald with a number of third degree felonies for selling unregistered securities to

investors. On November 23, 2004, Michael Fitzgerald entered a Plea in Abeyance with the State

of Utah. As a condition of the Plea in Abeyance, he agreed to repay the investors their losses in

restitution.

        As part of the events leading up to the Plea in Abeyance, Michael Fitzgerald established

the Michael J. Fitzgerald Protective Committee Trust, assigning certain property interests of his

to the Trust and naming the defrauded investors as beneficiaries of the Trust. In order to

effectuate oversight and supervision of the Trust operations, the court appointed Douglas Hawkes

as the Utah Receiver on April 26, 2005.

        On September 26, 2005, the Utah Receiver received a check for the sum of

$2,533,496.12, representing the first and only funds the Trust has received to this date. These

funds originated from the development and sale of real property in Los Angeles, California, by

Nebo Investments, LLC, of which Michael Fitzgerald held a substantial ownership interest.


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Although the property was not purchased or subsequently developed with any monies coming

directly from BHDC, a portion of the purchase and development funds originated from Michael

Fitzgerald personally, which funds he had received in part from BHDC.

       In March 2006, this court ordered distribution of approximately $1,500,000 of the Trust

assets to the Utah investors. The remainder of the Trust assets, approximately $750,000, was

retained for, among other things, potential priority tax liabilities owed by BHDC and/or Michael

Fitzgerald.

       BHDC, as well as all other California Receivership defendants, had not filed federal or

state tax returns regarding their respective activities for several years. On May 31, 2006, the

California Receiver’s accountants completed and submitted to the California Receiver

approximately 112 tax returns for various receivership and related entities, including BHDC.

       In an effort to prevent the IRS from pursuing the remaining Trust assets for potential

unpaid taxes by BHDC, the Utah Receiver sought declaratory relief against the IRS. In its

Amended Complaint, the Utah Receiver sought a declaration of the rights and legal

responsibilities of the parties. Specifically, the Utah Receiver requests this court to declare (1)

whether the IRS has any interest in the assets of the Trust for alleged unpaid employment taxes

and/or unpaid income taxes by BHDC for the tax years 2000, 2001, and the first quarter of 2002,

and (2) whether the IRS has any interest in the assets of the Trust for unpaid employment taxes

under the applicable three-year statute of limitations. The IRS has now moved to dismiss this

complaint and the California Receiver supports the IRS’ motion [#105, #107].




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                                   STANDARD OF REVIEW

       In considering a motion to dismiss for lack of subject matter jurisdiction when the

moving party questions the sufficiency of the complaint, the court “assum[es] the truth of all

facts that Plaintiff alleges.”2 Therefore, the court accepts the facts alleged in the Utah Receiver’s

complaint as true.

                                          DISCUSSION

       The IRS moves to dismiss this declaratory judgment action by the Utah Receiver,

maintaining that there is no waiver of the United States’ sovereign immunity from suit and,

therefore, the court lacks jurisdiction over the Utah Receiver’s claims. Furthermore, the IRS

contends that both the Declaratory Judgment Act3 and the Anti-Injunction Act4 bar the present

claims for relief. The Declaratory Judgment Act grants jurisdiction to district courts over cases

seeking declaratory relief.5 The statute includes an exception for declaratory relief “with respect

to federal Taxes,”6 and the United States argues that this exception operates as a jurisdictional

bar to the Utah Receiver’s claims. The IRS also argues that the Anti-Injunction Act bars the

present claims because the relief sought by the Utah Receiver is injunctive in nature because it

seeks to restrain the IRS’ further assessment or collection of taxes.


       2
         Georgacarakos v. United States, 420 F.3d 1185, 1186 (10th Cir. 2005); Holt v. United
States, 46 F.3d 1000, 1002 (10th Cir. 1995).
       3
           28 U.S.C. § 2201.
       4
           Id. § 7421.
       5
           Id. § 2201(a).
       6
           Id.

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       David J. Pasternak, the California Receiver, supports the IRS’ Motion to Dismiss [# 105].

The California Receiver argues on both legal and equitable grounds that the Utah Receiver

should share in BHDC’s tax liabilities to the IRS for unpaid employment taxes. First, the Trust

assets that the Utah Receiver controls are, in actuality, monies that are the property of and

payable to the creditors of Michael Fitzgerald. Because BHDC was the primary vehicle used by

Michael Fitzgerald to defraud investors, the California Receiver believes that the Trust assets,

being the assets of Michael Fitzgerald, are subject to tax liabilities owed by BHDC to the IRS

despite the fact that they originated from Nebo Investments, LLC. Second, the California

Receiver contends that it is fair and equitable for the Utah Receiver to share the priority tax

burdens so that the ultimate distributions to the claimants of both receiverships are more

comparable.

       The Utah Receiver rejects the IRS’ argument that the declaratory relief sought in the

complaint is barred by the Declaratory Judgment Act. The Utah Receiver argues that he does not

seek a determination of tax liabilities or assessment of taxes against BHDC or any other entity.

Rather he seeks declaratory relief in order to force the IRS to bring now any claims it may have,

so the claims, if any, can be addressed. If the IRS continually delays bringing any claim, the

Utah Receiver argues that he will be unable to continue distributing the balance of the Trust

assets because the Utah Receiver may be personally responsible if he distributes any additional

assets and the IRS subsequently asserts entitlement to those Trust monies. Additionally, the Utah

Receiver argues that the California Receiver might conceivably bring a claim against the Utah

Receiver or the Trust for indemnification of the tax liabilities of BHDC.


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          Although the Declaratory Judgement Act grants the district courts jurisdiction over cases

seeking declaratory relief, the statute does not extend jurisdictional authority to render

declaratory relief “with respect to Federal taxes” (subject to exceptions not relevant here).7

Despite the Utah Receiver’s narrow argument to the contrary, the present claim for declaratory

relief surely involves federal taxes. It is difficult to see how a judicial declaration of whether the

IRS has any interest in the Trust assets for alleged unpaid employment or income taxes by BHDC

is not relief “with respect to Federal taxes.” In this case, the Utah Receiver is “elevat[ing]

semantics over substance.”8 Accordingly, the court lacks jurisdiction to render the requested

relief.

          Similarly, the Anti-Injunction Act provides that “no suit for the purpose of restraining the

assessment or collection of any tax shall be maintained in any court by any person, whether or

not such person is the person against whom such tax was assessed.”9 The Declaratory Judgment

Act and the Anti-Injunction Act are “coextensive” in scope.10 In other words, “an injunction of a

tax and a judicial declaration that a tax is illegal have the same prohibitory effect on the federal

government’s ability to assess and collect taxes.”11 Indeed, the “Supreme Court has recognized

that the principal purpose of the Anti-Injunction Act is to permit the government to assess and


          7
              Id.
          8
          Wyoming Trucking Ass’n, Inc. v. Bentsen, 82 F.3d 930, 933 (10th Cir. 1996) (finding
that jurisdiction is barred by both the Declaratory Judgment Act and the Anti-Injunction Act).
          9
              28 U.S.C. § 7421.
          10
               Wyoming Trucking, 82 F.3d at 933.
          11
               Id.

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collect taxes expeditiously without judicial intervention.”12 In the present case, the Utah

Receiver contends that the purpose of the complaint is to force the IRS to bring now any claims it

may have so that the claims, if any, can be addressed. If the requested declaratory relief were

issued, however, the IRS would be forever prevented from bringing any claim on the assets of the

Trust for unpaid BHDC taxes. This is exactly the type of situation that Congress created the

Anti-Injunction Act to prevent.13 Indeed, the U.S. Supreme Court has noted that the “[Anti-

Injunction Act] shields federal tax collections from federal-court injunctions . . . [and] Congress

directed taxpayers to pursue refund suits instead of attempting to restrain collections.”14 In this

case, the Utah Receiver’s action clearly seeks a restraint on the IRS, which the court lacks

jurisdiction to grant.

        The Utah Receiver relies on Sea-Land Services, Inc. v. United States,15 in which the

District of New Jersey denied the government’s motion to dismiss a similar claim because the

claim did “not ask the Court to declare whether any tax is due the United States or, if so, how

much, but only whether [Sea-Land] must turn over the unchallenged assessment to the IRS.”16

Sea-Land also states, however, that it is “well-settled that the exception for federal taxes does not



        12
             Id. (citing Enochs v. Williams Packing & Navigation Co., 370 U.S. 1, 7 (1961)).
        13
          Id. (stating that “[o]f critical importance to this Court is the fact that the relief sought
by the plaintiffs would have an immediate effect of restraining the collection of a tax in direct
contradiction to the Anti-Injunction Act.”) (emphasis added).
        14
             Hibbs v. Winn, 542 U.S. 88, 103-04 & n.5 (2004)
        15
             Sea-Land Services, Inc. v. United States, 622 F.Supp. 769 (D.N.J. 1985).
        16
             Id. at 771.

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bar actions by non-taxpayers who seek neither to restrain the assessment of taxes nor to dispute

the taxpayer’s ultimate tax liability.”17 In the present case, the Utah Receiver is a non-taxpayer

who is seeking to restrain the assessment of taxes in order to distribute the Trust assets. And this

case clearly demonstrates that the exception in the Declaratory Judgment Act for federal taxes

prohibits the Utah Receiver’s action.

       In the initial complaint, the Utah Receiver also sought a declaration concerning whether

the IRS has any interest in the Trust assets for unpaid employment taxes under the applicable

statute of limitations. The court cannot grant such relief due to the above-discussed prohibitions

by the Declaratory Judgment Act and the Anti-Injunction Act. In addition, even if these claims

were not barred, the court could not grant the requested relief because the appropriate statute of

limitations appears to have not yet expired. Indeed, the Internal Revenue Code provides that

“[t]he amount of any tax imposed by the Code . . . shall be assessed within 3 years after the

return was filed.”18 In the present case, it is undisputed that BHDC did not submit tax returns for

the years of 2000, 2001, and the first quarter of 2002 until May 31, 2006. Thus, it appears likely

to the court that the applicable statute of limitations would not expire until May 31, 2009.

                                         CONCLUSION

       The relief requested by the Utah Receiver is both declaratory and injunctive in nature and

involves federal taxes, and would impede the government’s ability to assess and collect taxes as

well. The court finds the requested relief is prohibited by both the Declaratory Judgment Act and


       17
            Id.
       18
            26 C.F.R. §301.6501(a).

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the Anti-Injunction Act.

       For all these reasons, the court GRANTS the IRS’ Motion to Dismiss [# 105].

       SO ORDERED.

       DATED this 21st day of August, 2006.

                                   BY THE COURT:

                                   _______________________
                                   Paul G. Cassell
                                   United States District Judge




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